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IN THE UNITED STATES DISTRICT [OURT US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

DALLAS DIVISION | FILED

§ NOV - 7 2019
UNITED STATES OF AMERICA §

§ , DISTRICT
v. § No. 3:17-CR-0; 69.38y LWT Court

§ Deputy
FREDDIE THOMAS GILBERT §

§

VERDICT FORM

We, the jury in the above-entitled case, find Defendant Freddie Thomas Gilbert:

1. “Guilty” or “Not Guilty” as to Count One of the second superseding indictment, Possession
of a Firearm or Ammunition by a Felon: UY

2. “Guilty” or “Not Guilty” as to Count Two of the second superseding indictment, Possession
with Intent to Distribute Cocaine: Ou | by .

3, “Guilty” or “Not Guilty” as to Count Three of the second superseding indictment, Using,
Carrying, Brandishing, and Discharging a Firearm During and/or in Relation to a Drug
Trafficking Crime: :

If your answer on Count Three is “Guilty,” answer Part A and Part B below. If your answer
on Count Three is “Not Guilty,” do not answer Part A or Part B.

A. If you have found the Defendant GUILTY of Count Three, then determine whether
the Defendant brandished a firearm: Yes No .

B. If you have found the Defendant GUILTY, of Count Three, determine whether the
defendant discharged a firearm: Yes No ,
4, “Guilty” or “Not Guilty” as to Count Four of the second superseding indictment, Murder

Resulting from the Use of a Firearm During and in Relation to a Drug Trafficking Crime:

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State ws

JURY FOREPERSON

DATE: Novem ber ‘| 2ol4

 

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